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SO ORDERED.

SIGNED this 10 day of October, 2019.




                                                   James P. Smith
                                         Chief United States Bankruptcy Judge



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION

In the Matter of:                           :      Chapter 7
MARGO ANGELA JIMENEZ,                       :      Case No. 19-30018-JPS
                  Debtor                    :
                                            :
FIDELITY BANK,                              :
                      Plaintiff             :
              vs.                           :      Adversary Proceeding
                                            :      No. 19-3009, 19-3015 and 19-3016
                                            :      (Consolidated)
MARGO ANGELA JIMENEZ, et al,                :
               Defendants                   :

                ORDER GRANTING IN PART AND DENYING IN PART
                     DEFENDANTS’ MOTIONS TO DISMISS

       Defendants filed motions to dismiss, brought under Federal Rule of Civil Procedure

12(b)(6) and made applicable to these proceedings by Federal Rule of Bankruptcy Procedure

7012, in each of these consolidated adversary proceedings.

       For the reasons stated in the accompanying memorandum opinion, the Court grants the

motions with respect to Counts One and Two in the Amended Complaints and denies

Defendants’ motions as to Count Three. Defendants need not respond to allegations with regard
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to Counts One and Two in the Amended Complaints but must file an appropriate answer

responding to the general allegations in Count Three of the Amended Complaints within fourteen

(14) days of this order.

                                     *END OF ORDER*
